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IN THE UNITED STATES DISTRICT COURT FOR THE
. NORTHERN DISTRICT OF FLORIDA

 

PENSACOLA DIVISION

UNITED STATES OF AMERICA
} SEALED
y. | | INDICTMENT
EUGENE HUELSMAN S.OfH
/
THE GRAND JURY CHARGES:
COUNT ONE

On or about January 9, 2021, in the Northern District of Florida and

elsewhere, ‘the defendant,
EUGENE HUELSMAN,

did knowingly transmit in interstate commerce a communication, that is, a
~ telephone call to the office of M.G., containing a true threat to injure the person of
- another, with the intent that this communication be perceived as a true threat, by
stating, amongst other things:

“Tell [M.G.] to watch his back, tell him to watch his children... ?’m

coming for him, he’s gonna fucking die... I’m gonna fucking kill

him ... Watch your back, I’m coming for you. I’m gonna put a bullet
in you and I’m gonna put a bullet in one of your fucking kids too.”

 

Returned in open court pursuant to Rule 6(f)

Row. Vi te —

Date © |
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| United States Magistrate Judge 'e)

 
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In violation of Title 18, United States Code, Section 875(c).

A TRUE BILL:

 

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ae DATE

 

 
 

 

Ley a _

“JASON R'COODY/
Acting United States Attorney

DAVID. GOLDBERG

Assistant United States Attorney

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LAZARO P. FIELDS
Assistant United States Attorney
